                                     Clear Form                  Save Form
                  Case: 1:16-cr-00590 Document #: 178 Filed: 01/30/18 Page 1 of 1 PageID #:1827
                            SEVENTH CIRCUIT TRANSCRIPT INFORMATION SHEET
 PART I – M ust be com pleted by party or party’s attorney pursuant to Rule 10(b) of the Federal R ules of Appellate Procedure and
 R ule 11(a) of the C ircuit R ules. T he appellant m ust file this form with the court reporter within 14 days of filing the notice of appeal,
 whether transcript is being ordered or not. (FR AP 10(b)(1)) Satisfactory arrangem ents with the court reporter for paym ent of the
 costs of the transcripts m ust also be m ade at that tim e. (F R AP 10(b)(4)) (N ote: Appellees as well as appellants are expected to
 use this form when ordering transcripts.)

 Short Title                                                                   District                              D.C. Docket No.
                                                                               Northern District                     16-cr-00590-1
 United States v. Proano
                                                                               District Judge                        Court Reporter
                                                                                Feinerman                            Charles Zandi
  X I am ordering transcript.                                                  Sign below and return original and one copy to court reporter.
        I am not ordering transcript because:                                  D istribute rem aining copies to the C lerk of the District C ourt
                                                                               and opposing party, retaining one copy for yourself.
        T he transcript has been prepared.

 Indicate proceedings for which transcript is required. Dates m ust be provided:                                                 D ate(s)
                                                                                                                      11/8/16, 8/1/17, 8/3/17, 8/10/17
  X        Pretrial proceedings. Specify:        Pretrial proceedings
                                                                                                                       8/16/17,8/17/17

           Voir D ire

                                                                                                                      8/21/17-8/25/2017; 8/28/17
 T rial or H earing. Specify:    Trial including side bars

           O pening statem ent

           Instruction conference

           C losing statem ents

           C ourt instructions

           Post-trial proceedings. Specify:                                                                           11/7/17
   X
   X       Sentencing                                                                                                 11/20/17

           O ther proceedings. Specify:



 M ethod of P aym ent:            C ash                              X    C heck or M oney O rder                        C .J.A. Voucher
 Status of P aym ent:             Full Paym ent                      X    Partial Paym ent                               N o Paym ent Yet

 Signature:             s/ Daniel Q. Herbert                                                               T elephone N o. 312-655-7660
 Address:            206 S. Jefferson, Suite 100
                     Chicago, IL 60661
                    _________________________________________________________                                     December 11, 2017
                                                                                                           Date: __________________________


 PAR T II – M ust be com pleted by C ourt R eporter pursuant to Rule 11(b) of the F ederal R ules of A ppellate P rocedure. By signing
 this Part II, the C ourt R eporter certifies that satisfactory arrangem ents for paym ent have been m ade.

 U.S.C.A. Docket No.                      Date Order Received                  Estimated Completion Date             Estimated Length
                                          12/11/17                            1/31/18                            680

                                      s/ Charles R. Zandi                                                             1/29/18
 Signature of C ourt R eporter:                                                                             D ate:

 N O T IC E: T he Judicial C onference of the United States, by its resolution of M arch 11, 1 98 2, has provided that a penalty of 10
 percent m ust apply, unless a waiver is granted by the C ou rt of Appeals’ C lerk , when a “transcript of a case on appeal is not
 delivered within 30 days of the date ordered and paym ent received therefor.” T he penalty is 20 percent for transcript not delivered
 within 60 days.
O riginal to C ourt R eporter. C opies to:       U .S.C .A. C lerk       Service Copy     District Court Clerk and to      Party / Counsel
O rdering T ranscript.                            Clear Form                              Save Form
